            Case 20-72021-bem                               Doc 1     Filed 11/24/20 Entered 11/24/20 13:06:57                                 Desc
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                                                                                            7020 NOV 211 PH l:             1
                            District of
                                          (State)
 Case number (If known):                                         Chapter
                                                                                                                                           heck if this is an
                                                                                                                                          amended filing

                                             E..

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name'and the case
number (if known). For more information, a separate documentr Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name
                                                       aro°S                   A 0 -104                       cut1 (LC
 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                 a         /
    Identification Number (EIN)



 4. Debtor's address                            Principal place of business                                   Mailing address, if different from principal place
                                                                                                              of business


                                            to60Number '        Street
                                                                           dwoo                                 r 4107
                                                                                                              Number      Street
                                                                                                                                       /Of             f-De/

                                                                                                              P.O. Box

                                          "dl.Lace ncel/I We GA
                                                City                              State     ZIP Code          City
                                                                                                                                         erp
                                                                                                                                          State
                                                                                                                                                     e
                                                                                                                                                      ZIP Code
                                                                                                                                                                   4 304
                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business


                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



 6. Debtor's website (URL)




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Debtor
                Name
                                                                                     LLc,senumber
                                                                                              ,,,nown
                                                                                                   ,
                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                          0 Partnership (excluding        LLP)
                                          0 Other. Specify:

                                          A. Check one:
 7. Describe debtor's business
                                          4Health Care Business (as defined In 11 U.S.C. § 101(27A))
                                          IM Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          0 Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          0 Clearing Bank (as defined In 11 U.S.C. § 781(3))
                                          0 None of the above

                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             htto://www.uscourts.qov/four-diqit-national-association-nalcs-codes



  8. Under which chapter of the           Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                          O Chapter 9
                                             Chapter 11. Check all that apply
                                                               O Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                 4/01/22 and every 3 years after that).
                                                               O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor Is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               0The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                 chooses to proceed under Subchapter V of Chapter 11.

                                                               0 A plan is being filed with this petition.
                                                               O Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               O The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               •    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                    12b-2.
                                          O Chapter 12

  9. Were prior bankruptcy cases              No
     filed by or against the debtor
     within the last 8 years?             0 Yes.    District                                 When                   Case number
                                                                                                    MM! DD / YYYY
         If more than 2 cases, attach a
                                                    District                                 When                   Case number
         separate list.
                                                                                                    MM! DD / YYYY


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Debtor                                 4010                .20-occ_12_          LL           Case number (if known)
              Name



 io. Are any bankruptcy cases           VNo
     pending or being filed by a
                                        0 Yes. Debtor                                                                 Relationship
     business partner or an
     affiliate of the debtor?                       District                                                          When
                                                                                                                                     MM / DD      / YYYY
     List all cases. If more than 1,
     attach a separate list.                            Case number, if known


 11.Why is the case filed in this       Check all that apply:
    district?
                                        0 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12.Does the debtor own or have         0fio
    possession of any real              re-Yes. Answer below for each property that needs Immediate attention. Attach additional sheets if needed.
    property or personal property
   .that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?

                                                    O It needs to be physically secured or protected from the weather.

                                                    O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                        en cLe
                                                           Other   A                                                    .tco    ibtec
                                               ety-v4 Kno/o fkklvtietat                                                  tivaiose_
                                                    Where is the property?
                                                                                   Number     Street



                                                                                   City                                              State ZIP Code


                                                    Is the property insured?
                                                    •      No
                                                    •      Yes. Insurance agency

                                                                Contact name

                                                                Phone




              Statistical and administrative information


  13.Debtor's estimation of              Check one:
     available funds                     0 Funds will be available for distribution to unsecured creditors.
                                         0 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



  14.Estimated number of
                                         d   1-49                               0 1,000-5,000                              0 25,001-50,000
                                         0 50-99                                0 5,001-10,000                                 50,001-100,000
     creditors                                                                                                             0 More than 100,000
                                         0 100-199                              0 10,001-25,000
                                         0 200-999


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Debtor                   ricA\         )44,0                               is-csa                 -C—Letse number van. °
             Name



                                          0 $0450,000                           0 $1,000,001-$10 million                     LI   $500,000,001-$1 billion
 is. Estimated assets                     9150,0014100,000                      LI $10,000,001-$50 million                   0 $1,000,000,001410 billion
                                          Wr$100,0014500,000                    El $50,000,0014100 million                   LI $10,000,000,001-$50 billion
                                          El $500,00141 million •               LI $100,000,001-$500 million                 El More than $50 billion


                                          0 $0450,000                                $1,000,001-$10 million                  LI $500,000,001-$1 billion
 is. Estimated liabilities                                                      LI $10,000,001-$50 million
                                          _0.'0,0014100,000
                                                                                                                             El $1,000,000,001410 billion
                                          tkr$100,001-$500,000                  LI $50,000,001-$100 million                  El $10,000,000,001450 billion
                                          El $500,00141 million                 LI   $100,000,001-$500 million               El More than $50 billion




            Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                petition.
     debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                          I declare under pen ty of perj ry that the foregoing is true and correct.

                                              - Executed on




                                                Signature of authorized repres tative of debtor

                                                Title




  18. Signature of attorney
                                                                                                                Date
                                                 Signature of attorney for debtor                                           MM      /DD / YYYY




                                                Printed name

                                                Firm name

                                                Number         Street

                                                City                                                                State         • ZIP Code


                                                Contact phone                                                       Email address




                                                Bar number                                                          State




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                  Reyna's Auto Service, LLC
                             List of Creditors


Civic Financial Services
2015 Manhattan Beach Blvd,
Redondo Beach, CA 90278
Phone: (877) 472-4842
Email: infoO,civicfs.com
Loan # 3434 Hill Drive, Duluth, GA 30096


AT&T
190 Marietta St NW
1 CNN Center Ste 266
Atlanta, GA 30303
Loan # 4048379148


Bank of America
600 Peachtree St NE,
Atlanta, GA 30308
Phone: (404) 607-4850
Loan # XX-XXXXXXX-481




                                           1
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01263314 (0J) OF 11/24/2020


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1     11IN   20-72021              1                       $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - REYNA'S AUTO SERVICE LLC


TOTAL:                                                        $ 0.00


FROM: Reyna's Auto Service LLC
      407 N. Broad St
      Monroe, GA 30655




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                  Case 20-72021-bem                  Doc 1       Filed 11/24/20 Entered 11/24/20 13:06:57                                Desc
                                                                Petition Page 7 of 7
   Case Number: 20-72021                                       Name: Reyna's Auto Service                                               Chapter: 11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

CI Individual - Series 100 Forms                                                              El Non-Individual - Series 200 Forms
 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
 CI Complete List of Creditors (names and addresses of all creditors)                          O Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                           O Address CI County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                          El Type of Debtor
 CI Signed Statement of SSN (due within 7 days)                                                CI Chapter
                                                                                               CI Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        CI Statistical Estimates
   El Statement of Financial Affairs                                                           CI Venue
   El Schedules: A/B D E/ F G H                                                                O Attorney Bar Number
   El Summary of Assets and Liabilities
   El Declaration About Debtor(s) Schedules
                                                                                                               Case filed via:
   O Attorney Disclosure of Compensation
                                                                                          El Intake Counter by:
   CI Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                               El Attorney
   O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                               CI Debtor - verified ID
   CI Chapter 13 Current Monthly Income
                                                                                               El Other-copy of ID: Reyna Tejada (978) 631-
   CI Chapter 7 Current Monthly Income                                                    7113
   CI Chapter 11 Current Monthly Income
   El Certificate of Credit Counseling (Individuals only)                                 CI Mailed by:
   0 Pay Advices (Individuals only) (2 Months)                                                O Attorney
   CI Chapter 13 Plan, complete with signatures (local form)                                  CI Debtor
   I Corporate Resolution (Business Ch. 7 & 11)                                               O Other:

  Ch.11 Business                                                                          CI Email [Pursuant to General Order 40-2020, this
  El 20 Largest Unsecured Creditors                                                       petition was received for filing via email]
  LSI List of Equity Security Holders
  CI Small Business - Balance Sheet                                                                    History of Case Association
  CI Small Business - Statement of Operations                                             Prior cases within 2          • None.
  CI Small Business - Cash Flow Statement
  CI Small Business - Federal Tax Returns                                                 Signature:
                                                                                          Acknowledgment of receipt of Deficiency Notice
  MISSING DOCUMENTS DUE WITHIN 30 DAYS
  CI Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       0 Paid $ 0.00 Li 2g-Order Granting           Li 3g-Order Granting 10-day finitial payment of $              due within 10 days)
       CI 2d-Order Denying with filing fee of $ 1,717.00 due within 10 days Li IFP filed (Ch.7 Individuals Only)
       D1 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents riled with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
Intake Clerk:                     Date: 11/24/20                         Case Opener:                                     Date:
